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UNITED STATES DISTRICT COURT
SOUTH.`ERN DISTRICT OF OHIO
WES'I`ERN DIVISION

 

UNITED STATES OF AMERICA
Criminal No. l:16-CR-64
v.
Violation: 15 U.S.C. § 1
MARUYASU INDUSTRIES CO., LTD.

~ Hon. Susan J. Dlott (U.S.D.J.)
Defendant.

d/V`_/V\/`./\/V

 

PLEA AGREEMENT
The United States and Maruyasu Industries Co., Ltd. (“Defendant”), a corporation

organized and existing under the laws of Japan, hereby enter into the following Plea Agreement
pursuant to Rule ll(c)(l)(C) of the Federal Rules of Criminal Procedure (“Fed. R. Crim. P.”):
RIGHTS OF DEFENDANT

l. Defendant understands its rights:

(a) to be represented by an attorney;

(b) as a corporation organized and existing under the laws of Japan, to contest
(i) the jurisdiction of the United States to prosecute this case against it in the United States
District Court for the Southern District of Ohio or (ii) the propriety of venue in that forum;

(c) to plead not guilty to any criminal charge brought against it;

(d) to have a trial byjury, at which it would be presumed not guilty of the
charge and the United States would have to prove every essential element of the charged
offense beyond a reasonable doubt for it to be found guilty;

(e) to confront and cross-examine witnesses against it and to subpoena
witnesses in its defense at trial;

(f) to appeal its conviction if it is found guilty; and

(g) to appeal the imposition of sentence against it.

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AGREEMENT TO PLEAD GUILTY AND WAIVE CERTAIN RIGHTS

2. Defendant knowingly and voluntarily waives the rights set out in Paragraph l(b)-(f)
above for purposes of this Plea Agreement only. Defendant also knowingly and voluntarily waives
the right to file any appeal, any collateral attack, or any other writ or motion, including but not
limited to an appeal under 18 U.S.C. § 3742, that challenges the sentence imposed by the Court if v
that sentence is consistent with or below the recommended sentence in Paragraph 9 of this Plea
Agreement, regardless of how the sentence is determined by the Court. This agreement does not
affect the rights or obligations of the United States as set forth in 18 U.S.C. § 3742(b)-(c). Nothing
in this paragraph, however, will act as a bar to Defendant perfecting any legal remedies it may
otherwise have on appeal or collateral attack respecting claims of ineffective assistance of counsel
or prosecutorial misconduct. Defendant agrees that there is currently no known evidence of
ineffective assistance of counsel or prosecutorial misconduct.

3. On June 15, 2016, a grandqu returned a one-count Indictment against Maruyasu.
The Indictment (ECF No.l) charges Defendant with participating in a conspiracy to suppress and
eliminate competition by agreeing to fix prices, allocate customers, and rig bids for automotive
steel tubes sold to automobile manufacturers in Japan and incorporated into vehicles sold in the
United States in violation of the Sherman Act, 15 U.S.C. § l. Defendant will plead guilty to that
one-count violation of the Sherman Act, not on the basis of the facts alleged in the Indictment in
_ hall, but, pursuant to the terms of this Plea Agreement, on the basis of the factual admission of guilt

to the Court in accordance with Fed. R. Crim. P. ll(b)(3), as set forth in Paragraph 4 below.

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FACTUAL BASIS FOR OFFENSE CHARGED
4. For purposes of this Plea Agreement, the “relevant period” is that period from
December 2003 through December 2008. Had this case gone to trial, the United States would have
presented evidence sufficient to prove the following facts:

(a) During the relevant period, Defendant was a corporation organized and
existing under the laws of Japan with its headquarters in Aichi Prefecture in Japan and
employed more than 1,000 individuals. During the relevant period, Defendant
manufactured automotive steel tubes in Japan and sold automotive steel tubes to customers
in Japan, During the relevant period, Defendant did not manufacture or sell automotive
steel tubes in the United States.

(b) Automotive steel tubes are used in fuel distribution, braking, and other
automotive systems and are sometimes divided into two categories - chassis tubes and
engine parts. Chassis tubes, such as brake and fuel tubes, tend to be located in the body of
a vehicle, while engine parts are associated with the function of a vehicle’s engine.

(c) During the relevant period, Defendant, through its employees and high level
personnel, participated in a conspiracy with other Japanese companies and persons involved
in the manufacture and sale of automotive steel tubes, the primary purpose of which was to
suppress and eliminate competition in the automotive steel tubes industry by agreeing to rig
bids for certain steel tube engine parts sold to Nissan Motor Co., Ltd. in Japan.

(d) In furtherance of the conspiracy, Defendant, through its employees and high
level personnel, engaged in discussions in Japan and attended meetings in Japan with other
Japanese companies and persons involved in the manufacture and sale of automotive steel

tubes, During such discussions and meetings, Defendant and its co-conspirators agreed to

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rig bids quoted to Nissan Motor Co., Ltd. for steel tube engine parts sold to Nissan Motor
Co., Ltd. in Japan,

(e) Defendant’s conduct in furtherance of the conspiracy affected steel tubes
sold to Nissan Motor Co., Ltd. in Japan for export to the United`States and installation in
vehicles and engines manufactured and sold in the United States, and for installation in
vehicles and engines manufactured in Japan for export to and sale in the United States.

(i) During the relevant period, sales of steel tube engine parts in Japan affecting
customers in the United States totaled approximately 318.78 million.

(g) During the relevant period, automotive steel tubes sold by Defendant or one
or more of the conspirator companies, and equipment and supplies necessary to the
manufacture and sale of automotive steel tubes, as well as payments for automotive steel
tubes, traveled in interstate and import trade and commerce. The business activities of
Defendant and its co-conspirators in connection with the manufacture and sale of
automotive steel tubes that were the subject of this conspiracy were within the flow of, and

' substantially affected, interstate and import trade and commerce.

ELEMENTS OF THE OFFENSE

 

5. The elements of the charged offense are that:
(a) the conspiracy described in Paragraph 4 existed during the relevant period;
(b) Defendant knowingly became a member of the conspiracy; and
(c) the conspiracy either substantially affected interstate or import commerce in
goods or services or occurred within the flow of interstate or import trade and commerce

in goods and services.

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POSSIBLE MAXIMUM SENTENCE
6. Defendant understands that the statutory maximum penalty which may be imposed
against it upon conviction for a violation of Section One of the Sherman Antitrust Act is a fine in
an amount equal to the greatest of:
(a) $100 million (15 U.S.C._ § l);
(b) twice the gross pecuniary gain the conspirators derived from the crime (18
U.S.C. § 3571(c) and (d)); or
(c) twice the gross pecuniary loss caused to the victims of the crime by the
conspirators (18 U.S.C. § 3571(0) and (d)).
7. In addition, Defendant understands that:
(a) pursuant to 18 U.S.C. § 3561(0)(1), the Court may impose a term of
probation of at least one year, but not more than five years;
(b) pursuant to § 8Bl .l of the United States Sentencing Guidelines (“U.S.S.G.,”
“Sentencing Guidelines,” or “Guidelines”) or 18 U.S.C. § 3563(b)(2) or 3663(a)(3), the
Court may order it to pay restitution to the victims of the offense; and
(c) pursuant to 18 U.S.C. § 3013(a)(2)(B), the Court is required to order
Defendant to pay a $400 special assessment upon conviction for the charged crime.

SENTENCING GUIDELINES

 

8. Defendant understands that the Sentencing Guidelines are advisory, not mandatory,
but that the Court must consider, in determining and imposing sentence, the Guidelines in effect on
the date of sentencing unless those Guidelines provide for greater punishment than the Guidelines
in effect on the last date that the offense of conviction was committed, in which case the Court

must consider the Guidelines in effect on the last date that the offense of conviction was committed,

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The parties agree there is no ex post facto issue under the November l, 2016 Guidelines. The
Court must also consider the other factors set forth in 18 U.S.C. § 3553(a) in determining and
imposing sentence, Defendant understands that the Guidelines determinations will be made by the
Court by a preponderance of the evidence standard. Defendant understands that although the Court .
is not ultimately bound to impose a sentence within the applicable Guidelinesrange, its sentence
must be reasonable based upon consideration of all relevant sentencing factors set forth in 18
U.S.C. § 3553(a). Pursuant to U.S.S.G. § 1Bl.8, the United States agrees that any self-
incriminating information that Defendant provides to the United States pursuant to this Plea
Agreement will not be used to increase the volume of affected commerce attributable to Defendant
or in determining Defendant’s applicable Guidelines range, except to the extent provided in
U.S.S.G. § 1Bl.8(b).
SliNTENCING AGREEMENT

9. Pursuant to Fed. R. Crim. P. ll(c)(l)(C) and subject to the full, truthful, and
continuing cooperation of Defendant and its related entities, as defined in Paragraph 12 of this Plea
Agreement, the United States and Defendant agree that the appropriate disposition of this case is,
and the United States and Defendant agree to recommend jointly that the Court impose, a sentence
requiring Defendant to pay to the United States a criminal fmc of 812.0 million payable in full
before the thirtieth (30th) day alter the date of judgment and no order of restitution (“the
recommended sentence”). 'The United States and Defendant agree that there exists no aggravating
or mitigating circumstance of a kind, or to a degree, not adequately taken into consideration by the
U.S. Sentencing Commission in formulating the Sentencing Guidelines justifying a departure
pursuant to U.S.S.G. §5K2.0. The United States and Defendant agree not to seek any sentence

outside of the Guidelines range nor any Guidelines adjustment for any reason that is not set forth in

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this Plea Agreement, The United States and Defendant further agree that the recommended
sentence set forth in this Plea Agreement is reasonable.

(a) T he United States and Defendant agree and recommend that the Court, in
determining the Guidelines line range for a corporate defendant for violation of 15 U.S.C.
§ 1, apply the Chapter 8 - Sentencing of Organization_s guidelines, and the applicable
offense guideline, §2Rl.1 - Antitrust Offenses, as follows:

(i) Pursuant to §8C2.4(b) and §2Rl.1(d)(l) the base fine is $3.757 million,
which is 20% of $18.78 million, the volume of affected commerce.

(ii) Defendant’s base culpability score is 5 (§8C2.5(a)). The culpability
score is increased by 4 points because Defendant had more than 1,000 employees and
high level personnel participated in the conspiracy (§8C2.5(b)(2)). The culpability
score is then decreased by l point in recognition of Defendant’s acceptance of
responsibility (§8C2.5(g)). Defendant’s final culpability score is thus 8.

(iii) Based on a culpability score of 8, the minimum and maximum
multipliers are l.60 - 3.20 (§8C2.6).

(iv) The Guidelines fine range is $6.011 million - 812.022 million
(§8C2.7).

(b) Defendant understands that the Court will order it to pay a $400 special
assessment, pursuant to 18 U.S.C. § 3013(a)(2)(B), in addition to any fine imposed.

(c) Pursuant to 18 U.S.C. § 3663, restitution is not mandatory for a violation of
15 U.S.C. § l, and in light of the availability of civil causes of action, 15 U.S.C. § 15,
which potentially provide for a recovery of a multiple of actual damages, the recommended

sentence does not include a restitution order for the offense charged in the Indictment.

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(d) Both parties will recommend that no term of probation be imposed, but
Defendant understands that the Court’s denial of this request will not void this Plea
Agreement.
(e) The United States and Defendantjointly submit that this Plea Agreement,
together with the record that will be.created by the United States and Defendant at the plea
and sentencing hearings, and the further disclosure described in Paragraph 10, will provide
sufficient information concerning Defendant, the crime charged in this case, and
Defendant’s role in the crime to enable the meaningful exercise of sentencing authority by
the Court under 18 U.S.C. § 3553. The United States and Defendant agree to request
jointly that the Court accept Defendant’s guilty plea based upon the record provided by
Defendant and the United States, under the provisions of Fed. R. Crim. P. 32(c)(l)(A)(ii)
and U.S.S.G. §6Al.1. The Court’s denial of any request to impose sentence on an
expedited schedule will not void this Plea Agreement.
lO. Subject to the full, truthful, and continuing cooperation of Defendant and its related
entities, as defined in Paragraph 12 of this Plea Agreement, and prior to sentencing in this case, the
United States will fully advise the Court and the Probation Office of the fact, manner, and extent of
Defendant’s and its related entities’ cooperation and their commitment to prospective cooperation
with the United States’ investigation and prosecutions, all material facts relating to Defendant’s
involvement in the charged offense, and all other relevant conduct.

ll. The United States and Defendant understand that the Court retains complete
discretion to accept or reject the recommended sentence provided for in Paragraph 9 of this Plea

Agreement.

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(a) If the Court does not accept the recommended sentence or if the Court does
not grant the motion by the United States to dismiss the indictment as to certain defendants
(as described in Paragraph 16(h)), the United States and Defendant agree that this Plea
Agreement, except for Paragraph ll(b) below, will be rendered void.
(b) If the Court does not accept the recommended sentence or if the Court does
not grant the motion by the United States to dismiss the Indictment as to certain defendants
(as described in Paragraph 16(h)), Defendant will be free to withdraw its guilty plea (Fed. R.
Crim. P. l 1(c)(5) and (d)). IfDefendant withdraws its plea of guilty, this Plea Agreement,
the guilty plea, and any statement made in the course of any proceedings under Fed. R.
Crim. P. 1 1 regarding the guilty plea or this Plea Agreement or made in the course of plea
discussions with an attorney for the United States will not be admissible against Defendant
in any criminal or civil prooeeding, except as otherwise provided in Fed. R. Evid. 410(b).
IfDefendant withdraws its plea of guilty, any admissions herein, such as those in Paragraph
4, are withdrawn and void.
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12. Defendant and its related entities (for the purposes of this Plea Agreement,
Defendant’s “related entities” are entities in which Defendant directly or indirectly had a greater
than 50% ownership interest as of the date of the signature of this Plea Agreement, including, but
not limited to, Curtis-Maruyasu America, Inc.) will cooperate fully and truthfully with the United
States in the continued prosecution of this case, the current federal investigation of violations of
federal antitrust and related criminal laws involving the manufacture and sale of automotive steel
tubes that is described in Paragraph 4, above, and any litigation or other proceedings arising or

resulting from such investigation to which the United States is a party (collectively “Federal

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Proceeding”). Federal Proceeding includes, but is not limited to, an investigation, prosecution,
litigation, or other proceeding regarding: Satoru Murai’s involvement in the conduct charged in the
Indictment;‘ or obstruction of, the making of a false statement or declaration in, the commission of
perjury or subornation of perjury in, the commission of contempt in, or conspiracy to commit such
offenses in, a Federal Proceeding, Defendant’s obligation to cooperate fully and truthfully in
accordance with the terms of this paragraph shall begin the day the Court imposes sentence and
Curtis-Maruyasu America, Inc.’s obligation to cooperate fully and truthfully in accordance with the
terms of this paragraph shall begin the day the Indictment is dismissed as to it. The full, truthful,
and continuing cooperation of Defendant and its related entities will include, but not be limited to:
(a) producing to the United States all documents,' information, and other
materials, wherever located, not protected under the attorney-client privilege or the work-
product doctrine, in the possession, custody, or control of Defendant or any of its related
entities that are requested by the United States in connection with any Federal Proceeding,
including translations into English of all such documents, information, or materials; and
(b) using its best efforts to secure the full, truthful, and continuing cooperation,
as defined in Paragraph 13 of this Plea Agreement, of any current or former directors,
officers, and employees of Defendant or any of its related entities as may be requested by
the United States other than Satoru Murai, including making such persons available in the
United States and at other mutually agreed-upon locations, at Defendant’s expense, for
interviews and the provision of testimony in grand jury, trial, and otherjudicial proceedings

in connection with any Federal Proceeding.

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13. The full, truthful, and continuing cooperation of each person described in Paragraph
12(b) above will be subject to the procedures and protections of this paragraph, and will include,
but not be limited to: 4

(a) producing in the United States and at other mutually agreed-upon locations
all documents, including claimed personal documents, and other materials, wherever
located, not protected under the attorney-client privilege or the work-product doctrine,
including translations into English, that are requested by attorneys and agents of the United
States in connection with any Federal Proceeding;

(b) making himself or herself available for interviews in the United States and at
other mutually agreed-upon locations at Defendant’s expense upon the request of attorneys
and agents of the United States in connection with any Federal Proceeding;

(c) responding fully and truthfully to all inquiries of the United States in
connection with any Federal Proceeding, without falsely implicating any person or
intentionally withholding any information, subject to the penalties of making a false
statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction ofjustice (18 U.S.C. §
1503, et seq.), or conspiracy to commit such offenses;

(d) otherwise providing the United States with any material or information
requested beyond that provided for in (a)-(c) of this paragraph and not protected under the
attorney-client privilege or work-product doctrine that he or she may have that is related to
any Federal Proceeding;

(e) when called upon to do so by the United States in connection with any
Federal Proceeding, testifying in grand jury, trial, and other judicial proceedings in the

United States, fully, truthfully, and under oath, subject to the penalties of perjury (18 U.S.C.

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§ 1621), making a false statement or declaration in grand jury or court proceedings (18

U.S.C. § 1623), contempt (18 U.S.C. §§ 401-402), and obstruction of justice (l 8 U.S.C. §

1503, et seq.); and

(f) agreeing that, if the agreement not to prosecute him or her in this Plea
agreement is rendered void under Paragraph l6(c), the statute of limitations period for the

Relevant Offense, as defined in Paragraph 15, will be tolled as to him or her for the period

between the date of signature of this Plea Agreement and six (6) months after the date that

the United States gave notice of its intent to void its obligations to that person under this

Plea Agreement.

14. Defendant’s obligation to cooperate fully and truthfully with the United States in
any Federal Proceeding, as described in Paragraph 12, shall include the full, truthful, and
continuing cooperation of Tadao Hirade, Kazunori Kobayashi, and Yoshihiro Shigematsu
beginning the day the Indictment is dismissed as to them. The cooperation obligations described in
Paragraph 13 also shall apply to all current and former directors, officers, and employees of Curtis-
Maruyasu America, Inc., beginning the day the Indictment is dismissed as to Curtis-Maruyasu
America, lnc.

M’AGREEMENT

15. Subject to the full, truthful, and continuing cooperation of Defendant and its related
entities, as such cooperation is defined in this Plea Agreement, and upon the Court’s acceptance of
the guilty plea called for by this Plea Agreement and the imposition of the recommended sentence,
the United States agrees that it will not bring further criminal charges against Defendant or any of
its related entities (including Curtis-Maruyasu America, Inc.) for any act or offense committed

before the date of signature of this Plea Agreement that was undertaken in furtherance of any

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antitrust conspiracy involving the manufacture or sale of automotive steel tubes (“Relevant
Offense”). The nonprosecution terms of this paragraph do not apply to (a) any acts of subornation
of perjury ( 18 U.S.C. § 1622), making a false statement (18 U.S.C. § 1001), obstruction of justice
(18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such
offenses; (b) civil matters of_ any kind; (c) any violation of the federal tax or_ securities laws or
conspiracy to commit such offenses; or (d) any crime of violence.

16. The United States also agrees to the following:

(a) Upon the Court’s acceptance of the guilty plea called for by this Plea
Agreement and the imposition of the recommended sentence and subject to the exceptions
noted in Paragraph l6(c), the United States agrees that it will not bring criminal charges
against any current or former director, officer, or employee of Defendant, or of its related
entities (including Curtis-Maruyasu America, Inc.), including Tadao Hirade, Kazunori
Kobayashi, and Yoshihiro Shigematsu, for any act or offense committed before the date of
signature of this Plea Agreement and while that person was acting as a director, officer, or
employee of Defendant or its related entities that was undertaken in furtherance of the
Relevant Offense, except that the protections granted in this paragraph do not apply to t
Satoru Murai;

(b) Should the United States determine that any current director, officer, or
employee of Defendant or its related entities, or any former director, officer, or employee
of Defendant or its related entities may have information relevant to any Federal
Proceeding, the United States may request that person’s cooperation under the terms of this

Plea Agreement by written request delivered to undersigned counsel for Defendant (with a

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copy to counsel for the individual if the individual is known by the United States to be
represented by separate counsel);

(c) lf any person requested to provide cooperation under Paragraph l6(b) fails
to comply fully with his or her obligations under Paragraph 13, then the terms of this Plea
Agreement as they pertain to that person and the agreement not to prosecute that person
granted in this Plea Agreement will be rendered void, and the United States may prosecute
such person criminally for any federal crime of which the United States has knowledge
including, but not limited to, the Relevant Offense;

(d) Except as provided in Paragraph 16(e), information provided by a person
described in Paragraph l6(b) to the United States under the terms of this Plea Agreement
pertaining to the Relevant Offense, or any information directly or indirectly derived from
that information, may not be used against that person in a criminal case, except in a
prosecution for perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a false
statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §
1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such offenses;

(e) If any person who provides information to the United States under this Plea
Agreement fails to comply fully with his or her obligations under Paragraph 13 of this Plea
Agreement, the agreement in Paragraph 16(d) not to use that information or any
information directly or indirectly derived from it against that person in a criminal case will
be rendered void;

(f) The nonprosecution terms of this paragraph do not apply to (a) any acts of

perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a false statement (18

U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. § 1503, et seq.), contempt (18

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U.S.C. §§ 401-402), or conspiracy to commit such offenses; (b) civil matters of any kind;

(c) any violation of the federal tax or securities laws or conspiracy to commit such offenses;

or (d) any crime of violence;

(g)` Documents provided under Paragraphs 12(a) and l3(a) will be deemed
responsive to outstanding grandjury subpoenas issued to Defendant or any of its related
entities; and

(h) Upon the Court’s acceptance of the guilty plea called for by this Plea
Agreement under Rule"l 1(c)(4) of the Federal Rules of Criminal Procedure, the United
States will make a motion, oral or otherwise, pursuant to Rule 48(a) of the Federal Rules of
Criminal Procedure for leave to dismiss the Indictment as to Curtis-Maruyasu America, Inc.,
Tadao Hirade, Kazunori Kobayashi, and Yoshihiro Shigematsu, and request that the Court
grant the motion simultaneously with its imposition of the recommended sentence, As set
forth in Paragraph ll(b), if the Court does not accept the recommended sentence or if the
Court does not grant the motion by the United States to dismiss the Indictment as to certain
defendants (as described in this Paragraph), Defendant will be free to withdraw its guilty
plea (Fed. R. Crim. P. l 1(c)(5) and (d)).

17. The United States agrees that when any person other than Satoru Murai travels to
the United States for interviews, grand jury appearances, or court appearances pursuant to this Plea
Agreement, or for meetings with counsel in preparation therefor, the United States will take no
action, based upon the Relevant Offense, to subject such person to arrest, detention, or service of
process, or to prevent such person fi'om departing the United States. This paragraph does not apply

to an individual’s commission of perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making

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a false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. § 1503,
et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such offenses.

18. Defendant understands that it may be subject to suspension or debarment action by
state or federal agencies other than the United States Department of Justice, Antitrust Division,
based upon the conviction resulting from this Plea Agreement, and that this Plea Agreement in no
way controls what action, if any, other agencies may take. However, the Antitrust Division agrees
that, if requested, it will advise the appropriate officials of any governmental agency considering
such action of the fact, manner, and extent of the cooperation of Defendant as a matter for that
agency to consider before determining what action, if any, to take. Defendant nevertheless affirms
that it wants to plead guilty regardless of any suspension or debarment consequences of its plea.

REPRESENTATION BY COUNSEL

19. Defendant has been represented by counsel and is fully satisfied that its attorneys
have provided competent legal representation. Defendant has thoroughly reviewed this Plea
Agreement and acknowledges that counsel has advised it of the nature of the charge, any possible
defenses to the charge, and the nature and range of possible sentences.

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20. Defendant’s decision to enter into this Plea Agreement and to tender a plea of guilty
is freely and voluntarily made and is not the result of force, threats, assurances, promises, or
representations other than the representations contained in this Plea Agreement. The United States

has made no promises or representations to Defendant as to whether the Court will accept or reject

the recommendations contained within this Plea Agreement.

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VIOLATION OF PLEA AGREEMENT

 

21 . Defendant agrees that, should the United States determine in good faith, during the
period that any Federal Proceeding is pending, that Defendant or any of its related entities have
failed to provide full, truthful, and continuing cooperation, as defined in Paragraph 12 of this Plea
Agreement, or have otherwise violated any provision of this Plea Agreement, the United States will
notify counsel for Defendant in writing by personal or overnight delivery, email, or facsimile
transmission and may also notify counsel by telephone of its intention to void any of its obligations
under this Plea Agreement (except its obligations under this paragraph), and Defendant and its
related entities will be subject to prosecution for any federal crime of which the United States has
knowledge including, but not limited to, the substantive offense charged in the Indictment.
Defendant agrees that, in the event that the United States is released from its obligations under this
Plea Agreement and brings criminal charges against Defendant or its related entities for any
offense referred to in Paragraph 15 of this Plea Agreement, the statute of limitations period for
such offense will be tolled for the period between the date of signature of this Plea Agreement and
six (6) months after the date the United States gave notice of its intent to void its obligations under
this Plea Agreement.

22. Defendant understands and agrees that in any further prosecution of it or its related
entities resulting &om the release of the United States &om its obligations under this Plea
Agreement because of Defendant’s violation of this Plea Agreement, any documents, statements,
information, testimony, or evidence provided by Defendant, its related entities, or their current or
former directors, officers, or employees to attorneys or agents of the United States, federal grand

juries, or courts, and any leads derived therefrom, may be used against it or its related entities, In

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addition, Defendant unconditionally waives its right to challenge the use of such evidence in any
such further prosecution, notwithstanding the protections of Fed. R. Evid. 410.
ENTIRETY OF AGREEMENT

23. This Plea Agreement constitutes the entire agreement between the United States and
Defendant concerning the disposition _of the criminal charge in this case, This Plea Agreement
cannot be modified except in writing, signed by the United States and Defendant,

24. The undersigned is authorized to enter this Plea Agreement on behalf of Defendant
as evidenced by the Resolution of the Board of Directors of Defendant attached to, and
incorporated by reference in, this Plea Agreement.

25. The undersigned attorneys for the United States have been authorized by the
Attomey General of the United States to enter this Plea Agreement on behalf of the United States.

26. A facsimile or PDF signature will be deemed an original signature for the purpose
of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

executing this Plea Agreement.

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DATED:

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Respectfully submitted,

BY:

 

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